Exhibit A
                                NIH Minority-Related Health Projects That Were Not Terminated
Type Actv Project      Title                                                                        Institution
                       Enhancing the Effectiveness of Community Health Workers to Reduce Cervical
   5 R44 MD015221-04   Cancer Disparities in African American Women                               ISA ASSOCIATES, INC.

   1 R01 MD019748-01   Actívatexto: Advancing smoking cessation and physical activity among Latinos UNIVERSITY OF ROCHESTER
                       Elucidating the high and heterogeneous risk of gestational diabetes among
                       Asian Americans: an integrative approach of metabolomics, lifestyles, and    UNIVERSITY OF CALIFORNIA
   5 R01 MD018459-02   social determinants                                                          LOS ANGELES

                                                                                                    NORTHERN ARIZONA
   5 R01 MD013352-04   Impact of Navajo Nation Tax on Junk Food                                     UNIVERSITY
                       Family mHealth Intervention to Improve Health Outcomes in Black Youth with
   5 R01 MD018583-03   Type 1 Diabetes: A Multi-Center Randomized Controlled Trial                  WAYNE STATE UNIVERSITY



                       Elucidating Lung Cancer Etiology Among Asian American Female Never           UNIVERSITY OF CALIFORNIA,
   5 R01 MD014859-05   Smokers                                                                      SAN FRANCISCO
                       Church Wellness Coordinator-led Intervention to Improve Hypertension Control UT SOUTHWESTERN MEDICAL
   7 R01 MD018193-04   in the Black Community                                                       CENTER

   5 R01 MD014127-05   Achieving American Indian Youth Energy and Mental Health Balance             UNIVERSITY OF ARIZONA
                       A Randomized Control Trial to improve metabolic outcomes in African          UNIVERSITY OF ILLINOIS AT
   5 R01 MD015724-04   American pregnant women                                                      CHICAGO
                       Health Promotion in the Prevention of Anxiety and Depression: The Happy      UNIVERSITY OF MIAMI SCHOOL
   5 R01 MD012610-05   Older Latinos are Active (HOLA Study)                                        OF MEDICINE
                       Effects of DASH Groceries on Blood Pressure in Black Residents of Urban      BETH ISRAEL DEACONESS
   5 R01 MD016068-03   Food Deserts                                                                 MEDICAL CENTER
                       Reducing Hypertension among African American Men: A Mobile Stress
   5 R44 MD017106-03   Management Intervention to Address Health Disparities                        ISA ASSOCIATES, INC.
                       Sleep and health disparities among Asian Americans: roles of stressors and   UNIVERSITY OF CALIFORNIA-
   5 R01 MD015186-05   protective factors                                                           IRVINE

                       Equity Implications of Lung Cancer Screening Strategies for Population Health: WAKE FOREST UNIVERSITY
   1 R21 MD020158-01   a Distributional Cost-Effectiveness Analysis                                   HEALTH SCIENCES
                                                                                                    WASHINGTON STATE
   5 R01 MD014035-05   AMERICAN INDIAN CHronic disEase RIsk and Sleep Health (AI-CHERISH)           UNIVERSITY
                                                                                                      UNIVERSITY OF NEW MEXICO
5 R01 MD013752-05   Access to Kidney Transplantation in Minority Populations (AKT-MP)                 HEALTH SCIS CTR
                    Understanding cancer and comorbidities among American Indian and Alaska
5 R21 MD018641-02   Native people                                                                     UNIVERSITY OF IOWA

                    Understanding the Multiple-levels of Influence on Access to Care for Latino      UNIVERSITY OF HAWAII AT
5 R01 MD014146-06   Youth                                                                            MANOA
                    Designing a Plan of Action for Better Access and Quality of Surgery for African- UNIVERSITY OF ALABAMA AT
5 R01 MD013858-05   Americans with Gastrointestinal Cancers in the Deep South                        BIRMINGHAM
                    Long-Term Effects of Hurricane Maria on Healthcare Delivery, Migration and
5 R01 MD016961-03   Mortality Among People with Kidney Failure in Puerto Rico                        BROWN UNIVERSITY
                    A Coping Skills Intervention for Low-SES Latino Families of Children with        UNIVERSITY OF TEXAS AT
5 R01 MD014145-05   Asthma                                                                           AUSTIN


                    The ADELANTE Trial: Testing a multi-level approach for improving household
5 R01 MD016738-04   food insecurity and glycemic control among Latinos with diabetes                  STANFORD UNIVERSITY

                    Engaging Partners in Caring Communities (EPICC): Building capacity to
5 U01 MD019397-03   implement health promotion programs in African American churches                  TENNESSEE STATE UNIVERSITY


                    Latinos Understanding the Need for Adherence in Diabetes using Care
5 R01 MD015080-04   Coordination, Integrated Medical and Behavioral Care and E-Health (LUNA-E) SAN DIEGO STATE UNIVERSITY

                    Adapting and testing a physical activity dyad intervention for Black girls with
5 R21 MD019333-02   asthma and their mothers                                                          UNIVERSITY OF CHICAGO
                    A Mixed-Methods Study of the Social Ecological and Integration Factors
                    Associated with HIV Prevention Measures Among Latino/x Sexual Minority            RUTGERS, THE STATE
5 R21 MD019227-02   Migrant Men in the US                                                             UNIVERSITY OF N.J.
